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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             BRUNSWICK DIVISION




              UNITED STATES OF AMERICA,


                    V.                                            CASE NO.: CR214-014


              JOSEPH EDWARD LANG
                a/k/a 'Butch"




                                                    ORDER


                    The Court has been advised that all motions filed by Joseph Edward Lang have been

              resolved by the parties.

                    Accordingly, all such resolved motions are hereby DISMISSED as moot.

                     SO ORDERED, this     2$'     day of August, 2014.




                                                           JA ES E. GRAHAM
                                                           UJITED STATES MAGISTRATE JUDGE




AO 72A
(Rev. 8/82)
